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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF VIRGINIA
                           Harrisonburg Division

 NEW LIFESTYLES, INC., CUAVE
 FAMILY PROPERTIES, LLC, and
 PROPERTIES OF WINCHESTER,
 LLC,

                     Plaintiffs,
                                                       5:21cv7
       v.                                  Case No. ________________________

 CALO YOUNG ADULTS –
 WINCHESTER, LLC and
 SOLACIUM HOLDINGS, LLC,

                     Defendants.


             CORPORATE DISCLOSURE STATEMENT OF
        DEFENDANT CALO YOUNG ADULTS – WINCHESTER, LLC

      Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Defendant Calo

Young Adults – Winchester, LLC (“Calo”) states as follows:

      Calo is not publicly traded. Calo is a subsidiary of Change Academy at Lake

of the Ozarks, LLC, which is not publicly traded. No publicly traded corporation owns

more than 10% of the stock of Calo or has any other direct financial interest in the

outcome of the litigation.
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      Respectfully submitted this 29th day of January, 2021.



                                     /s/
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                          CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was served upon all
parties to this action by depositing a copy of the same in the United States Mail,
first-class postage prepaid, addressed to the following:

                   Andrew S. Baugher
                   Christopher R. Tate
                   Flora Pettit P.C.
                   P.O. Box 1287
                   Harrisonburg, VA 22803
                   Attorneys for Plaintiffs

      This the 29th day of January, 2021.

                                       /s/
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